UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

In re: : Case No. [9-30822
TAGNETICS, INC., : Involuntary Chapter 7
Alleged Debtor : Judge Humphrey

 

NOTICE OF APPEAL (DOC. 119)!

Appellant Tagnetics, Inc., Alleged Debtor, by its undersigned counsel, hereby appeals under Rule
8001 ef seg. of the Federal Rules of Bankruptcy Procedure from the Order Granting in Part
Tagnetics’ Motion to Enforce Settlement (Doc. 119) entered October 25, 2019 (the “Order”). A
copy of the Order is attached hereto as Exhibit “A”. The names of the parties to the Order appealed
from and the names, addresses, and telephone numbers of their respective attorneys are as
follows:

APPELLANT:

TAGNETICS, INC.

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Attention: Stephen B. Stern, Esq. (stern@kaganstern.com)

 

' Taonetics elects to have this appeai heard by the United States District Court, instead of the Bankruptcy Appellate
Panel.

{01377514-1}
APPELLEES/PETITIONING CREDITORS:

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U.S. TRUSTEE’S OFFICE:

 

MaryAnne Wilsbacher

Office of the United States Trustee

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Dated: October 30, 2019

Respectfully Submitted,

/s/ Robert R. Kracht

Robert R, Kracht (0025574)

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Attorneys for Tagnetics, Inc.
CERTIFICATE OF SERVICE

[hereby certify that on October 30, 2019, a copy of the foregoing Notice of Appeal (Doc.
119) was served (i) electronically on the date of filing through the Court’ s ECF System on all
ECF participants registered in this case at the email address registered with the court and (11)
electronically by email on counsel for Tagnetics, Inc., Stephen B. Stern, Esq.
(Stern@kaganstern.com) and (iii) by email and ordinary U.S. Mail on October 30, 2019

addressed to:

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